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   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
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13
     UNITED STATES OF AMERICA,                         )     NO. CR 15-00145-EJD
14                                                     )
            Plaintiff,                                 )     DECLARATION OF JEFFREY D. NEDROW IN
15                                                     )     SUPPORT OF GOVERNMENT’S OPPOSITION
       v.                                              )     TO DEFENDANT’S MOTION FOR
16                                                     )     COMPASSIONATE RELEASE
     EDGARDO REYES,                                    )
17                                                     )     The Hon. Edward J. Davila
            Defendant.                                 )
18                                                     )
                                                       )
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            I, Jeffrey D. Nedrow, declare:
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            1.   I am attorney for the government assigned to respond to the motion for compassionate
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                 release filed in U.S. v. Reyes, CR 15-00145-EJD, ECF No. 162.
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            2.   Attached as Exhibit 1 to this declaration is a true and correct copy of a letter the Defendant
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                 sent to the Warden at CI North Lake on September 17, 2021 in which Defendant requested
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                 the Warden grant him compassionate release.
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     DECLARATION OF JEFFREY D. NEDROW
     CR 15-00145-EJD
 1        3. Attached as Exhibit 2 to this declaration is a true and correct copy of a letter the facility

 2           administrator at CI North Lake sent to Defendant on October 18, 2021, denying Defendant’s

 3           request for compassionate release.

 4        4. Attached as Exhibit 3 to this declaration is a true and correct copy of an immigration detainer

 5           for Edgardo Reyes filed by the Department of Homeland Security and addressed to CI North

 6           Lake. The detainer is dated May 17, 2017.

 7        5. Attached as Exhibit 4 to this declaration is a true and correct copy of a BOP program review

 8           report from CI North Lake reflecting Defendant’s work history and program participation

 9           during his time in custody. The program review report was generated on January 31, 2022.

10        I declare under penalty of perjury that the foregoing is true and correct.

11        Signed February 28, 2022 in San Jose, California.

12                                                       ________/s/_________
                                                         JEFFREY D. NEDROW
13                                                       Assistant United States Attorney
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     DECLARATION OF JEFFREY D. NEDROW
     CR 15-00145-EJD
